Case 1:17-cv-00565-GJQ-RSK ECF No. 53
            Case: 17-2274 Document:    filed Filed:
                                    17-1     05/09/18   PageID.1563
                                                    05/09/2018  Page:Page
                                                                      1   1 of 5              (1 of 5)




                         UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                              100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE             Tel. (513) 564-7000
      Clerk                      CINCINNATI, OHIO 45202-3988           www.ca6.uscourts.gov




                                Filed: May 09, 2018




Ms. Angel Bartlett
500 N. Edwards Street
Kalamazoo, MI 49007

            Re: Case No. 17-2274, Angel Bartlett v. MI, et al
                Originating Case No. : 1:17-cv-00565

Dear Ms. Bartlett:

   The Court issued the enclosed (Order/Opinion) today in this case.

                                Sincerely yours,

                                s/Bryant L. Crutcher
                                Case Manager
                                Direct Dial No. 513-564-7013

cc: Mr. Thomas Dorwin

Enclosure

Mandate to issue
Case 1:17-cv-00565-GJQ-RSK ECF No. 53
            Case: 17-2274 Document:    filed Filed:
                                    17-2     05/09/18   PageID.1564
                                                    05/09/2018  Page:Page
                                                                      1   2 of 5                      (2 of 5)



                NOT RECOMMENDED FOR FULL-TEXT PUBLICATION

                                           No. 17-2274

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                                                                  FILED
ANGEL BARTLETT,                                          )                  May 09, 2018
                                                         )              DEBORAH S. HUNT, Clerk
       Plaintiff-Appellant,                              )
                                                         )
v.                                                       )   ON APPEAL FROM THE UNITED
                                                         )   STATES DISTRICT COURT FOR
STATE OF MICHIGAN, et al.,                               )   THE WESTERN DISTRICT OF
                                                         )   MICHIGAN
       Defendants-Appellees.                             )
                                                         )
                                                         )

                                               ORDER


       Before: BATCHELDER, GRIFFIN, and LARSEN, Circuit Judges.


       Angel Bartlett, a pro se Michigan resident, appeals a district court order dismissing her
civil complaint filed under 42 U.S.C. § 1983. This case has been referred to a panel of the court
that, upon examination, unanimously agrees that oral argument is not needed. See Fed. R. App.
P. 34(a).
       In June 2017, Bartlett sued the Michigan Department of Human Services, Governor Rick
Snyder, the Kalamazoo Departments of Human Services and Child Protective Services, various
state courts and hospitals, and numerous agency employees and private citizens. Bartlett alleged
that she was improperly adjudicated as mentally ill and placed in various mental health facilities,
and that her children were removed from her custody. She stated that several private citizens and
employees from various state and federal agencies falsely accused her of criminal offenses,
including drug smuggling, terrorism, and child molestation. She insisted that the defendants
improperly surveilled her and tapped her phone. She also alleged that some of the defendants
had “an order placed on [her]” to stop breast-feeding her children and “placed reflux orders on
Case 1:17-cv-00565-GJQ-RSK ECF No. 53
            Case: 17-2274 Document:    filed Filed:
                                    17-2     05/09/18   PageID.1565
                                                    05/09/2018  Page:Page
                                                                      2   3 of 5                        (3 of 5)
                                            No. 17-2274
                                                -2-
[her] baby,” which almost caused her child to die. She claimed that some of the defendants
threatened to kill her or ordered her to kill herself, and that she was attacked with forms of
unspecified energy and radiation.        She stated that she was warned, “in [her] head,” that
unspecified individuals had killed her sister’s fiancé and that he had witnessed the defendants’
“war fare” against her.      Bartlett sought unspecified monetary damages and to have the
defendants charged with various criminal offenses in order to stop them from engaging in the
alleged violations of her rights. Bartlett filed several dozen “supplements” to her complaint,
raising allegations similar to those in the complaint.
       The district court dismissed the complaint pursuant to Federal Rule of Civil Procedure
12(b)(1) for lack of jurisdiction and pursuant to 28 U.S.C. § 1915(e)(2) for failure to state a claim
upon which relief could be granted. The court concluded that Bartlett failed to state a claim
against the defendants because she sought relief pursuant to criminal statutes that do not provide
a private right of action, because her allegations failed to set forth a viable legal claim, and
because she failed to identify how many of the defendants’ actions purportedly violated her
rights. The district court concluded that it lacked subject-matter jurisdiction over Bartlett’s
complaint because her allegations were implausible and frivolous. The district court also denied
Bartlett’s motion for reconsideration.
       On appeal, Bartlett cursorily reasserts her claims and continues to argue that the
defendants have subjected her to false charges and fraudulent trials. She has filed several
“notifications” setting forth her intent to seek hundreds of millions of dollars in damages and her
continued efforts to pursue various claims against numerous defendants and a motion seeking
reconsideration of prior “orders” by the state courts.
       We review de novo a district court’s dismissal of a suit under 28 U.S.C. § 1915(e)(2).
Hill v. Lappin, 630 F.3d 468, 470-71 (6th Cir. 2010). Under § 1915(e)(2)(B), district courts must
screen and dismiss any complaint that is frivolous or malicious, fails to state a claim upon which
relief may be granted, or seeks monetary relief from a defendant who is immune from such
relief. See id. at 470. A claim is frivolous when it is based on “fantastic or delusional” factual
allegations or on legal theories that are indisputably without merit. Neitzke v. Williams, 490 U.S.
Case 1:17-cv-00565-GJQ-RSK ECF No. 53
            Case: 17-2274 Document:    filed Filed:
                                    17-2     05/09/18   PageID.1566
                                                    05/09/2018  Page:Page
                                                                      3   4 of 5                           (4 of 5)
                                             No. 17-2274
                                                 -3-
319, 327-28 (1989). “[T]o survive scrutiny under § . . . 1915(e)(2)(B)(ii), ‘a complaint must
contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its
face.’” Hill, 630 F.3d at 471 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “While legal
conclusions can provide the framework of a complaint, they must be supported by factual
allegations.”   Iqbal, 556 U.S. at 679.       Although a pro se litigant is entitled to a liberal
construction of her pleadings and filings, this court’s standard of review requires more than the
bare assertion of legal conclusions, and the complaint must contain either direct or inferential
allegations respecting all the material elements to sustain a recovery under some viable legal
theory. See Mezibov v. Allen, 411 F.3d 712, 716 (6th Cir. 2005); Bovee v. Coopers & Lybrand
C.P.A., 272 F.3d 356, 361 (6th Cir. 2001); Boswell v. Mayer, 169 F.3d 384, 387 (6th Cir. 1999).
A plaintiff “must allege, with particularity, facts that demonstrate what each defendant did to
violate the asserted constitutional right.” Lanman v. Hinson, 529 F.3d 673, 684 (6th Cir. 2008).
Likewise, we review de novo a judgment dismissing a complaint for lack of subject-matter
jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1). Colonial Pipeline Co. v.
Morgan, 414 F.3d 211, 217 (6th Cir. 2007).
        The district court properly concluded that Bartlett’s allegations failed to state a claim
upon which relief could be granted. As the district court accurately noted, Bartlett, in many
instances, merely identified the alleged wrong-doers as “they” or “them,” instead of specifying
how each named defendant violated her rights under federal law. In addition, most of Bartlett’s
allegations concerning the defendants’ attempts to harass and intimidate her are frivolous
because they are based on “fantastic or delusional” factual allegations concerning conclusorily
pleaded conspiracies and far-fetched threats on her life and attacks using energy and radiation.
See Neitzke, 490 U.S. at 327-28. The district court properly dismissed Bartlett’s claims under the
various criminal statutes because the statutes do not provide for a private cause of action, and
because the decision to prosecute is vested in the sound discretion of the Attorney General. See
Wayte v. United States, 470 U.S. 598, 607 (1985). Finally, although not expressly addressed by
the district court, the court lacked jurisdiction over any attempt by Bartlett to regain custody of
Case 1:17-cv-00565-GJQ-RSK ECF No. 53
            Case: 17-2274 Document:    filed Filed:
                                    17-2     05/09/18   PageID.1567
                                                    05/09/2018  Page:Page
                                                                      4   5 of 5               (5 of 5)
                                        No. 17-2274
                                            -4-
her children because states have exclusive jurisdiction over child custody litigation.   See
Ankenbrandt v. Richards, 504 U.S. 689, 703 (1992).
       Accordingly, we AFFIRM the district court’s order and DENY Bartlett’s miscellaneous
motion and requests for relief.


                                           ENTERED BY ORDER OF THE COURT




                                           Deborah S. Hunt, Clerk
